Case 1:06-mj-00044-LDA Document 1-1 Filed 05/02/06 Page 1 of 1 PagelD #: 1

PER 18 U.S.C. 3170

 

 

DEFENDANT INFORMATION RELATIVE TO A CRIMINAL ACTION - IN U.S. DISTRICT COURT

 

BY:[_] INFORMATION [J INDICTMENT [XK] COMPLAIN

 

 

Matter Sealed: C] Juvenile oO Other than Juvenile
[L] Pre-indictment Piea [_] Superseding  ([] Defendant Added

CQ) Indictment  [_] Charges/Counts Added

Cc Information

 

Name of District Court, and/or Judge/Magistrate Location (City)

 

UNITED STATES DISTRICT COURT RHODE ISLAND

 

 

 

 

 

DISTRICT OF Divisional Office
Name and Office of Person ROBERT CLARK CORRENTE
Furnishing Information on Mu.s. Atty Clother U.S, Agency
THIS FORM Phone No.
Name of Asst.
U.S. Attorney LEE H. VILKER
(if assigned)
PROCEEDING

 

Name of Complainant Agency, or Person (& Title, if any)

UNITED STATES SECRET SERVICE

 

CT] person is awaiting trial in another Federal or State Court
(give name of court)

CASE NO.

 

USA vs.

Defendant: EDDIE LEE

Address:

 

[J Interpreter Required Dialect:

Birth [7] Male ["] Alien
Date — (1) Female (if applicable)

Social Security Number

 

 

DEFENVAN:

 

 

CT this person/proceeding transferred from another district
per (circle one) FRCrP 20, 21 of 40. Show District

 

O this is a reprosecution of charges
previously dismissed which were
dismissed on motion of:

oO U.S. Atty Ol Defense

SHOW

[[] this prosecution relates to a DOCKET NO.
pending case involving this same
defendant. (Notice of Related
Case must still be filed with the

Clerk.)
oO prior proceedings or appearance(s) MO NSE NO. E

before U.S. Magistrate Judge
regarding this defendant were
recorded under

 

 

 

Pl of
Place o | RHODE ISLAND County

 

Issue: [_] Warrant Summons

Location Status:

Arrest Date. sss CCS*«Cr Date Transferred to Federal Custody

C) Currently in Federal Custody

r] Currently in State Custody
CO Writ Required

CJ Currently on bond

Cc Fugitive

Defense Counsel (if any):

 

 

[_] FPD LC] CJA [[] RET'D

C] Appointed on Target Letter

 

C] This report amends AO 257 previously submitted

 

 

OFFENSE CHARGED - U.S.C. CITATION - STATUTORY MAXIMUM PENALTIES - ADDITIONAL INFORMATION OR COMMENTS

 

Total # of Counts

 

Set Title & Section/Offense Level
(Petty = 4 / Misdemeanor = 3/ Felony = 4)

 

Description of Offense Charged Felony/Misd.

 

 

18 U.S.C. 1029(a)(2) Use of one or more unauthorized access devices during a

x|Felony
Misdemeanor]

 

one year period with the intent to defraud and by such

Felony
Misdemeanor

 

conduct obtained anything of value aggregating $1,000

Felony
Misdemeanor]

 

or more

‘elony
Misdemeanor}

 

 

 

 

Felony
Misdemeanor]

 

 

 

 
